Case 1:20-cv-00942-MEH Document 216 Filed 09/17/21 USDC Colorado Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
 Civil Action No. 1:20-cv-00942-MEH

 SENSORIA, LLC, directly on its own behalf and derivatively on
 behalf of CLOVER TOP HOLDINGS, INC., a Delaware corporation;
 and
 GORDON MORTON,
                Plaintiffs,
 v.
 JOHN D. KAWESKE;
 CHRISTOPHER S. PETERSON;
 CLOVER TOP HOLDINGS, INC., a Delaware corporation;
 CLOVER TOP HOLDINGS, a Colorado corporation;
 AJC INDUSTRIES, LLC;
 DURANGO MANAGEMENT, LLC;
 SUNLIFE AG, LLC;
 MMJ 95, LLC;
 TWEEDLEAF LLC, a Colorado limited liability company;
 TWEEDLEAF, LLC, a Delaware limited liability company;
 LIFESTREAM HOLDINGS LLC;
 ORDWAY FARMS LLC;
 NORTH STAR HOLDINGS aka NORTH STAR HOLDINGS, INC.;
 MANUEL WELBY EVANGELISTA aka WELBY
 EVANGELISTA;
 DJDW, LLC;
 JW COLORADO, LLC;
 JW ORDWAY, LLC;
 JW TRINIDAD, LLC;
 BRIAN TANNENBAUM;
 TANNENBAUM & TROST, LLC fka TANNENBAUM, TROST &
 BURK, LLC; and
 DOES 1-100,

                Defendants.




         WELBY EVANGELISTA, NORTH STAR HOLDINGS, AND DJDW, LLC’S
              MOTION TO DISMISS THIRD AMENDED COMPLAINT



{01918778-1 }
Case 1:20-cv-00942-MEH Document 216 Filed 09/17/21 USDC Colorado Page 2 of 4




         Defendants Welby Evangelista (“Evangelista”); DJDW, LLC (“DJDW”); and North Star

Holdings (“North Star”) (collectively, the “Evangelista Defendants”) hereby move for dismissal

with prejudice of the claims asserted against them in Plaintiffs’ Third Amended Complaint.

                CLAIMS AGAINST THE EVANGELISTA DEFENDANTS

         The causes of action asserted against Evangelista in the Second Amended Complaint are

as follows:

                   •   Cause of Action 1: Declaratory Relief;
                   •   Cause of Action 14: Fraudulent Transfer;
                   •   Cause of Action 15: Civil Conspiracy;
                   •   Cause of Action 16: Aiding and Abetting Breach of Fiduciary Duty;
                   •   Cause of Action 17: Unjust Enrichment / Constructive Trust;
                   •   Cause of Action 18: RICO; and
                   •   Cause of Action 21: RICO.

         The causes of action asserted against DJDW in the Second Amended Complaint are as

follows:

                   •   Cause of Action 1: Declaratory Relief; and
                   •   Cause of Action 17: Unjust Enrichment / Constructive Trust

         The causes of action asserted against North Star in the Second Amended Complaint are

as follows:

                   •   Cause of Action 1: Declaratory Relief;
                   •   Cause of Action 12: Conversion;
                   •   Cause of Action 13: Civil Theft;
                   •   Cause of Action 14: Fraudulent Transfer;
                   •   Cause of Action 15: Civil Conspiracy;
                   •   Cause of Action 16: Aiding and Abetting Breach of Fiduciary Duty; and
                   •   Cause of Action 17: Unjust Enrichment / Constructive Trust.




{01918778-1 }                                   2
Case 1:20-cv-00942-MEH Document 216 Filed 09/17/21 USDC Colorado Page 3 of 4




                                           ARGUMENT

         The Evangelista Defendants join in the Motion to Dismiss Plaintiffs’ Third Amended

Complaint brought by John Kaweske and the Entity Defendants dated September 17, 2021

(the “Kaweske Motion”) [Dkt. 215]. For the reasons set forth in the Kaweske Motion and in the

Court’s Orders dated January 12, 2021 [Dkt. 150] and May 20, 2021 [Dkt. 188], all causes of

action against the Evangelista Defendants should be dismissed on the basis of illegality. See

Kaweske Motion at pp. 3-8.

         Plaintiff’s Causes of Action under the RICO statute must be dismissed for the additional

reasons that (1) Plaintiffs have failed to allege a cognizable business or property interest as

required for a RICO claim, (2) Plaintiff’s Eighteenth Cause of Action fails because it is

derivative in nature, (3) Plaintiff’s Eighteenth Cause of Action fails to plausibly allege causation,

and (4) Plaintiff’s Twenty-First Cause of Action is barred by the Private Securities Litigation

Reform Act (PSLRA) and fails for lack of continuity . See id. pp. 8-17. Finally, Plaintiffs cannot

obtain injunctive relief under the RICO statute. See id. p. 18.

         Finally, dismissal of all claims should be with prejudice because Plaintiffs have already

made four attempts to state their claims, and it would be futile for Plaintiffs to make a fifth

attempt. Plaintiffs’ most recent attempt in the Third Amended Complaint confirms their inability

to plead around the fact that they are asking the Court to enforce an illegal contract and fashion

relief from the proceeds of illegal business activity. See id. p. 20.

         The Evangelista Defendants hereby adopt and incorporate the arguments made and

authorities cited in the Kaweske Motion on each of these points and ask that the claims against

them be dismissed with prejudice.


{01918778-1 }                                      3
Case 1:20-cv-00942-MEH Document 216 Filed 09/17/21 USDC Colorado Page 4 of 4




                                         CONCLUSION

         Evangelista, DJDW, and North Star respectfully request that the Court enter an order

dismissing all claims asserted against them in Plaintiffs’ Third Amended Complaint with

prejudice.


Dated: September 17, 2021.                        Respectfully submitted,



                                                  /s/ Matthew A. Steward
                                                  Matthew A. Steward
                                                  Shaunda L. McNeill
                                                  CLYDE SNOW & SESSIONS
                                                  One Utah Center, 22nd Floor
                                                  201 South Main Street
                                                  Salt Lake City, Utah 84111-2216
                                                  Telephone (801) 322-2516
                                                  Facsimile (801) 521-6280
                                                  mas@clydesnow.com
                                                  slm@clydesnow.com

                                                  Attorneys for Defendants Welby Evangelista,
                                                  DJDW, LLC, and North Star Holdings




{01918778-1 }                                    4
